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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


   Civil Action No. 19-cv-00874-RBJ-MEH

   WARNER BROS. RECORDS INC., et al.,

                       Plaintiffs,

   v.

   CHARTER COMMUNICATIONS, INC.,

                       Defendant.



        SPECIAL MASTER’S ORDER RESOLVING DISCOVERY DISPUTES



   Entered by Regina M. Rodriguez, Special Master, on May 29, 2020,

         Pending before the Special Master are Plaintiffs’ and Defendant’s Motions to

   Compel. The parties submitted letter briefs in support of their motions on May 8,

   2020, detailing outstanding discovery disputes and seeking resolution. On May 13,

   2020 each party filed a response in opposition to the other party’s brief. These motions

   are within the scope of matters originally assigned to me as Special Master. (ECF

   143). Telephonic hearings were held on May 15, 2020 and on May 18, 2020, totaling

   approximately nine hours of argument. For certain issues, additional briefing was

   ordered, which was submitted on May 20, 2020. Based on the record and for the


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   reasons that follow, Defendant’s motion is granted in part and denied in part and

   Plaintiffs’ motion is granted in part and denied in part.1


       I.   BACKGROUND


            This action arises out of the alleged secondary infringement by the Defendant

   of the Plaintiffs’ copyrighted musical compositions and sound recordings. Plaintiffs

   allege that Defendant infringed their copyrighted works by contributing to its

   subscribers’ direct infringement and by profiting from the subscribers’ direct

   infringement while declining to exercise a right to stop or limit the alleged

   infringement. Judge Hegarty has provided a detailed account of the factual

   allegations in this case in his October 21, 2019 Recommendation, ECF 71. For the

   sake of brevity, the procedural history and applicable facts will not be repeated here.

   To the extent facts are relevant to a request at issue, those facts will be addressed in

   the analysis thereof.




   1Oral argument began with Defendant’s motion to compel on May 15, 2020 and Plaintiffs’ motion to
   compel was argued on May 18, 2020. I address the motions in the order they were argued.
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    II.   APPLICABLE LAW


          “[T]he scope of discovery under the federal rules is broad.” Gomez v. Martin

   Marietta Corp., 50 F.3d 1511, 1520 (10th Cir. 1995). Federal Rule of Civil Procedure

   26(b)(1) permits discovery regarding any nonprivileged matter that is relevant to a

   party’s claim or defense and proportional to the needs of the case. Federal Rule of

   Evidence 401 defines relevant evidence as evidence having any tendency to make the

   existence of any fact that is of consequence to the determination of the action more or

   less probable than it would be without the evidence. Fed. R. Evid. 401. In considering

   whether the discovery is proportional to the needs of the case, Rule 26(b)(1) instructs

   courts to analyze “the importance of the issues at stake in the action, the amount in

   controversy, the parties’ relative access to relevant information, the parties’

   resources, the importance of the discovery in resolving the issues, and whether the

   burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ.

   P. 26(b)(1).


          Discovery matters are “entrusted to the sound discretion of the trial courts.”

   Punt v. Kelly Servs., 862 F.3d 1040, 1047 (10th Cir. 2017) (internal quotation marks

   omitted). Where a discovery request appears relevant on its face, the party resisting

   the discovery request has the burden to show “the request (1) does not come within

   the scope of relevance as defined under Fed. R. Civ. P. 26(b)(1), or (2) is of such


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   marginal relevance that the potential harm occasioned by discovery would outweigh

   the ordinary presumption in favor of broad discovery.” Sinclair Wyoming Ref. Co. v.

   A&B Builders, Ltd., 2017 WL 10309306, at *5 (D. Wyo. Oct. 31, 2017) (internal

   quotation marks omitted).


            There are over thirty discovery requests at issue in the parties’ motions. Each

   request has been considered in accordance with the requirements of the Federal Rules

   of Civil Procedure and applicable law.


   III.     CHARTER’S MOTION TO COMPEL


          A. Request for Order Compelling Plaintiffs to Expand Responses to
             Certain RFPs

            Charter has identified a number of Requests for Production (RFPs) for which

   it claims Plaintiffs’ responses are deficient as to time period and/or substance. Many

   of these requests seek documents without a limiting time period. Plaintiffs have

   limited their responses to these requests to either the claim period, March 2013 –

   May 2016 (see Def. First Set of Requests for Prod. at 6), or the discovery period, 2012

   – 2016 (see ECF 108 at 47:7-17). Charter contends that such documents are relevant

   to the extent that they refer to or otherwise relate to the claim period and/or the

   alleged infringement. Specifically, Charter argues that these post-claim period

   documents are “highly likely to include information bearing on the integrity of

   Plaintiffs’ notices, including whether Plaintiffs’ [sic] owned a work before a notice was
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   sent, the notice correctly identified a work, the verification was accurate, and the

   system was reliable, which might not have been assessed until after the claim period.”

   (Def. Letter Br. May 8, 2020 at 4). The existence of any such documents, however, is

   entirely speculative. With regard to time period, Charter has not demonstrated the

   relevance of documents significantly post-dating the discovery period. Given the

   breadth of Charter’s requests as served, as well as the tenuous relevance that

   documents from as late as 2019 would have to the claims at issue in this case, the

   burden on Plaintiffs of producing this information is likely to outweigh any potential

   benefit of this discovery to Charter’s development of the case. In certain instances,

   however, Charter has demonstrated that certain limited post-claim documents are

   relevant and should be produced. Orders for each request in dispute are as follows:


         1. RFP 27: Charter seeks “[a]ll documents that mention, refer to, or

            relate to Charter and/or the above-captioned litigation that were

            created, received, or sent from 2013 to the present.” Plaintiffs have

            limited their response to the time period from January 1, 2013 to

            May 17, 2016, arguing that documents post-dating the claim

            period are not relevant. Charter seeks an order requiring Plaintiffs

            to extend this time period through 2019. Charter argues that this

            request is relevant because it would capture communications after

            the claim period discussing events that happened during the claim

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            period. In response, Plaintiffs argue that, even if such documents

            were relevant, the burden of collecting such documents outweighs

            the probative value because Plaintiffs cannot construct a search

            targeting only post-2016 documents discussing events that

            happened during the claim period. Plaintiffs would therefore need

            to review all documents, most of which would be either privileged

            or irrelevant. I agree. Charter has not demonstrated the relevance

            of the documents post-dating May 17, 2016, and Plaintiffs have

            established that the production of such documents would be

            unduly burdensome. Charter’s request is denied.

         2. RFP 55: Charter seeks “[a]ll communications with MarkMonitor

            regarding the Copyright Works and/or copyright infringement

            notices considered, prepared, or sent to Charter or its account

            holders, subscribers, or customers.” Plaintiffs have limited their

            response to the time period from January 1, 2013 to May 17, 2016.

            Charter seeks an order requiring Plaintiffs to produce documents

            responsive to this request through 2019. For the reasons stated

            with regard to Charter’s RFP 27, it would be unduly burdensome

            for Plaintiffs to produce documents through 2019. Plaintiffs have,

            however, demonstrated that documents through the end of 2016

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            may be relevant. Charter’s request for an order requiring

            Plaintiffs to produce documents responsive to this request

            through 2019 is therefore denied. Plaintiffs shall produce

            documents for the time period of January 1, 2013 through

            December 31, 2016.

            Charter also seeks an order requiring Plaintiffs to search for

            responsive documents from custodians at the law firm of

            Oppenheim and Zebrak, counsel in this matter. Charter claims

            that Oppenheim and Zebrak acted as an agent of the Plaintiffs

            with regard to communications with MarkMonitor. Plaintiffs

            argue that ordering discovery from Oppenheim and Zebrak would

            be improper because Oppenheim and Zebrak is Plaintiffs’ outside

            counsel and because MarkMonitor is Plaintiffs’ litigation

            consultant. While I acknowledge Plaintiffs’ concerns, the fact that

            Oppenheim and Zebrak is acting as Plaintiffs’ outside counsel in

            this litigation is not dispositive of its role vis-à-vis MarkMonitor

            and Plaintiffs during the claim period. Charter is entitled to

            understand the nature of MarkMonitor’s relationship with the

            Plaintiffs, including whether Oppenheim and Zebrak acted as an

            agent of the Plaintiffs. Charter’s request for an order

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            requiring Plaintiffs to search for documents from the law

            firm of Oppenheim and Zebrak is therefore granted in part

            and denied in part. Plaintiffs shall produce any litigation

            agreements relating to this matter entered into between

            MarkMonitor and the Plaintiffs, including any agreements

            entered into between MarkMonitor and Oppenheim and

            Zebrak wherein Oppenheim and Zebrak acts as an agent of

            the Plaintiffs.

         3. RFP 56: Charter seeks “[a]ll documents concerning any computer

            code, computer program, software, hardware, system, process, or

            device utilized to monitor or detect copyright infringement

            through BitTorrent or peer-to-peer file sharing technologies or

            sites, or using copyright infringement notices that were prepared

            and sent by You or on Your behalf to Charter for the Copyright

            Works.” Plaintiffs have limited their response to the time period

            from January 1, 2013 to May 17, 2016. Plaintiffs further contend

            that this request is duplicative of Requests 65 and 66. Charter

            seeks an order requiring Plaintiffs to extend this time period

            through 2019. Charter has not established that the requested

            documents post-dating the claim period are relevant to this

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            matter, and the burden of producing such documents therefore

            outweighs their probative value. Charter’s request is denied.

            The parties are instructed to meet and confer regarding

            documents produced in response to Requests 65 and 66 to

            determine     whether     the       production   of   additional

            documents responsive to Request 56 is necessary.

         4. RFP 62: This request seeks “[a]ll documents concerning the RIAA

            and either this lawsuit, Charter, CAS, MarkMonitor, and/or the

            Copyright Works.” Plaintiffs have limited their response to the

            time period from March 1, 2012 to May 17, 2016. Plaintiffs have

            also limited their response in substance. As part of the meet and

            confer, Charter has further narrowed this request, and now seeks

            an order requiring Plaintiffs to produce documents that concern

            the RIAA and either (i) this lawsuit; (ii) Charter; (iii)

            MarkMonitor, and/or (iv) the works in suit through 2019. Charter

            has not established that the requested documents post-dating the

            claim period are relevant to this matter, and the burden of

            producing such documents therefore outweighs their probative

            value. Charter has, however, established that the categories of

            documents sought are relevant and that the burden of producing

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            such documents would not outweigh their probative value.

            Charter’s request is granted in part and denied in part.

            Plaintiffs are ordered to produce documents concerning

            the RIAA and either (i) this lawsuit; (ii) Charter; (iii)

            MarkMonitor, and/or (iv) the works in suit, to the extent

            that documents concerning the RIAA and the works in suit

            also relate to either Charter or this lawsuit. Plaintiffs shall

            produce documents for the period of March 1, 2012 through

            May 17, 2016.

         5. RFP 63: Charter seeks “[a]ll documents pertaining to the

            relationship, agreement, and/or communications between You

            and/or any other Plaintiff and the RIAA and/or MarkMonitor

            regarding this lawsuit, the Copyright Works, and/or Charter.”

            Plaintiffs have limited their response to the time period from

            March 1, 2012 to May 17, 2016. Charter seeks an order requiring

            Plaintiffs to extend this time period through 2019. Charter has not

            established that the requested documents post-dating the claim

            period are sufficiently relevant to this matter and the burden of

            producing such documents therefore outweighs their probative

            value. Charter’s request is denied. Plaintiffs shall produce

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            documents for the time period of March 1, 2012 through

            May 17, 2016.

         6. RFP   64:   Charter seeks     “[a]ll   documents concerning    the

            relationship, agreement, and/or communications between the

            RIAA and any other person as it relates to either Charter, this

            lawsuit, and/or the Copyright Works.” Plaintiffs contend that this

            request is duplicative of Requests 62 and 63 and therefore refuse

            to produce documents responsive to this specific request. Charter

            seeks an order requiring Plaintiffs to respond to Request 64 as

            served. I agree that this request is duplicative of Requests 62 and

            63. Charter’s request is denied.

         7. RFP 65: This request seeks “[a]ll documents concerning any

            technical or qualitative analysis of any computer code, computer

            program, software, hardware, system, process, or device utilized

            to identify infringement and/or produce the copyright notices

            which were sent to Charter or upon which You will rely in this

            litigation, including any documents drafted by the Center for

            Copyright Information (“CCI”), MarkMonitor, Stroz Friedberg, or

            Harbor Labs.” Plaintiffs have agreed to produce documents for the

            time period from March 1, 2012 to May 17, 2016. Plaintiffs have
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            explicitly agreed to produce analyses that concern computer code

            or other systems responsible for the process in identifying

            infringement and/or producing the infringement notices that were

            sent to Charter and that Plaintiffs will rely on. Charter seeks an

            order requiring Plaintiffs to produce any analyses that concern

            computer code or other systems responsible for the process of

            identifying infringement and/or producing the infringement

            notices that were sent to Charter, or upon which Plaintiffs will rely

            on in this case for the time period of March 1, 2012 through 2019.

            Charter has not established that the requested documents post-

            dating the claim period are relevant to this matter, and the burden

            of producing such documents therefore outweighs their probative

            value. Furthermore, Plaintiffs’ response to this request is

            reasonable, given the relevance of the information sought and the

            burden on Plaintiffs of producing the requested information.

            Charter’s request is denied.

         8. RFP 66: Charter seeks “[a]ll documents and correspondence

            relating to the reliability and/or efficacy of the MarkMonitor

            System, including but not limited to audits related thereto, and

            documents    and   communications      with   MarkMonitor,     Stroz

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            Friedberg, and/or Harbor Labs pertaining to any technical

            assessments of the MarkMonitor System.” Plaintiffs have agreed

            to produce responsive, non-privileged documents for the period

            from January 1, 2013 to May 17, 2016, concerning the reliability

            of the MarkMonitor system used to produce the copyright notices

            sent to Charter upon which Plaintiffs will rely in this litigation.

            Charter seeks an order requiring Plaintiffs to produce all

            documents responsive to the request as written, through 2019.

            Charter has not established that the requested documents post-

            dating the claim period are relevant to this matter, and the burden

            of producing such documents therefore outweighs their probative

            value. Furthermore, Plaintiffs’ response to this request is

            reasonable, given the relevance of the information sought and the

            burden on Plaintiffs of producing the requested information.

            Charter’s request is denied.

         9. RFP 84: Charter seeks “[a]ll documents concerning the company

            Audible Magic and/or its technology, including without limitation,

            the use of Audible Magic’s technology to identify the alleged

            infringements at issue in this litigation.” Plaintiffs have limited

            their response to the time period from March 1, 2012 to May 17,

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              2016. Charter seeks an order requiring Plaintiffs to extend this

              time period through 2019. Charter argues that documents

              concerning Audible Magic’s verification process are clearly

              relevant, regardless of whether they were produced after the claim

              period. Charter has not established that the requested documents

              post-dating the claim period are relevant to this matter, and the

              burden of producing such documents therefore outweighs their

              probative value. Charter’s request is denied.

       B. Request for Order Compelling Plaintiffs to Produce Documents
          Relating to Certain Financial Information

          Charter asks the Special Master to issue an order requiring Plaintiffs to

    provide a more fulsome response to certain RFPs relating to communications

    regarding financial documents. These requests seek documents without a limiting

    time period. Plaintiffs have limited their responses to these requests by both time

    period and substance. Charter argues that the post-claim period documents sought

    are relevant because “Plaintiffs’ claim period is a convenient, tolling-agreement

    induced snap-shot in the history of alleged piracy. Post-claim-period documents are

    integral to painting a complete picture for the jury, which is relevant to the deterrence

    factor of statutory damages.” (Def. Letter Br. May 8, 2020 at 4). Plaintiffs, however,

    provide no further explanation of relevance. Given the breadth of Charter’s requests

    as served, as well as the tenuous relevance that documents from as late as 2019 would
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    have to the claims at issue in this case, the burden on Plaintiffs of producing this

    information is likely to outweigh any potential benefit of this discovery to Charter’s

    development of the case. Furthermore, at the parties’ last Special Master hearing,

    Charter sought post-claim period financial information to bolster its argument that

    “P2P infringement is no longer an impediment for Plaintiffs.” (Def. Letter Br., Apr.

    10, 2020 at 3). The Special Master granted Charter’s request in part, ordering

    Plaintiffs to produce top end financial data for the periods 2017, 2018 and 2019. (Hrg.

    Tr. Apr. 17, 2020 at 121:22-122:8; ECF 164 at 7). The information sought here

    appears to be directed to the same purpose. While the Special Master recognizes the

    potential relevance of that data, Plaintiffs have not demonstrated how the

    information sought in the RFPs at issue here provides relevant information that is

    different than what has already been ordered. Orders for each request in dispute are

    as follows:


          1. RFP 22: Charter seeks “[a]ll documents concerning the effect from

              copyright   infringement     using    peer-to-peer   file   sharing

              technologies on Your projected and actual total revenue and/or

              profits generated during Plaintiffs’ Claim Period.” Plaintiffs have

              agreed to produce these documents from the claim period. Charter

              seeks an order requiring Plaintiffs to produce any documents

              responsive to this request that reference or relate to the claim

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            period. For the reasons set forth above, Charter’s request is

            denied.

         2. RFP 23: Charter seeks “[a]ll documents that reference BitTorrent

            or other types of peer-to-peer file sharing technologies as they

            relate to diminished or diminishing use of such technologies,

            copyright infringement, sampling musical works, or permitted

            authorized uses, whether actual, perceived, or potential, of the

            Copyright Works.” Plaintiffs have agreed to produce responsive

            documents, subject to certain objections, for the time period of

            March 1, 2012 through May 17, 2016. Charter seeks an order

            requiring Plaintiffs to produce any documents responsive to this

            request that reference or relate to the claim period. For the reasons

            set forth above, Charter’s request is denied.

         3. RFPs 24 and 25: During the hearing, Charter noted that Requests

            23 and 24 related to similar issues as those discussed with regard

            to Requests 22 and 23. Charter therefore agreed to withdraw its

            motion to compel on these requests, reserving the right to revisit




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              the requests if it obtained additional information in depositions or

              otherwise. (Hrg. Tr. May 15, 2020 at 126:4-8).

       C. Request for Order Requiring Plaintiffs to Produce Documents
          Relating to Rightscorp

          With Request 54, Charter seeks “[a]ll communications with Rightscorp

    regarding the Copyright Works and/or copyright infringement notices considered,

    prepared, or sent to Charter or its account holders, subscribers, or customers.”

    Plaintiffs object to the request as overly broad and unduly burdensome and argue

    that the request seeks information concerning communications with nonparties

    irrespective of Charter, the works in suit, or the relevant time period. Plaintiffs have

    refused to produce documents responsive to this request. (Def. Letter Br. May 8, 2020,

    Ex. 1). Rightscorp is a third-party service similar to MarkMonitor. Charter argues

    that many of the infringement notices that it received during the claim period came

    from Rightscorp. Charter contends that Plaintiffs’ communications with or about

    Rightscorp   are   “probative   of   the   reliability   of   Rightscorp’s   system,   the

    appropriateness of its notices, and its perception by the industry.” (Def. Letter Br.

    May 8, 2020 at 5). Plaintiffs argue that because none of their notices were sent by

    Rightscorp, communications with Rightscorp are not relevant. Further, Plaintiffs

    argue that Charter has not offered any evidence to suggest that it considered the

    reliability of a vendor sending a notice when deciding how to respond to that notice.

    (Pl. Letter Br. May 13, 2020 at 4). I agree with Plaintiffs. While ultimately the issue
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    of Rightscorp’s reputation and its handling of notices may be somewhat relevant to

    this case, there is no basis for finding that Plaintiffs’ discussions with or about

    Rightscorp are sufficiently probative of relevant issues to justify the burden and

    expense of production at this time. Therefore, Charter’s request with regard to

    RFP 54 is denied.


       D. Request for Order Requiring Plaintiffs to Produce Documents
          Relating to RIAA and Anti-piracy Efforts

          Requests 59 and 60 seek information relating to anti-piracy efforts both during

    and after the claim period. In addition to information demonstrating the amount that

    Plaintiffs spent on anti-piracy efforts (RFP 59), Charter also seeks information

    regarding the amount actually paid to the RIAA between 2010 and 2016 (RFP 60).

    Charter alleges that this information is relevant to mitigation, which it contends can

    be considered as part of a statutory damages analysis. The parties discussed these

    requests at length during the hearing, and the Special Master ordered additional

    briefing on this issue. Each party submitted briefing on May 20, 2020. The Special

    Master has considered the parties’ briefing and arguments and the issue is now ripe

    for determination.


    Charter argues that Plaintiffs’ payments to the RIAA are relevant for three reasons:


          First, Charter argues that the information is relevant because “financial ties

    between a party and a chief witness bear on issues of motive, bias, and credibility.”

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    (Def. Letter Br. May 20, 2020 at 2). In support of this claim, Charter cites to Koch v.

    Koch Indus., Inc., No. 85-1636-C, 1992 WL 223816, at *15 (D. Kan. Aug. 24, 1992).

    While Koch does suggest that evidence of bias or motive of a witness is relevant, it

    specifically states that the information is relevant to determine whether the witness

    “has any personal motive, bias or interest in favor of or against a party to this

    litigation.” Id. Here, however, that Plaintiffs and the RIAA have a business

    relationship—such that the RIAA has an interest in favor of Plaintiffs—is not in

    dispute. Therefore, the relevance of the information sought for showing motive is

    tenuous at best.


          Second, Charter argues that it expects evidence to show that that the RIAA

    chose a less expensive—and less reliable—version of the MarkMonitor system to send

    notices to Charter than it used for other ISPs. Charter argues that the level of

    payments to the RIAA during this period is relevant to what Plaintiffs were willing

    to pay for this policing and the budget RIAA had available. However, I note, Charter

    has not contended that it considered the reliability of notices when determining how

    to respond to those notices.


          Third, Charter argues that Plaintiffs’ payments to RIAA are relevant to

    mitigation both as an affirmative defense and to inform the appropriate level of

    statutory damages.


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          The Plaintiffs argue that their exclusive pursuit of statutory damages

    invalidates Charter’s failure to mitigate defense. The Plaintiffs cite to Purzel Video

    GmbH v. St. Pierre, 10 F. Supp. 3d 1158, 1163, 1169-70 (D. Colo. 2014), in which

    Judge Daniel adopted Judge Hegarty’s recommendation that “[a] copyright plaintiff’s

    exclusive pursuit of statutory damages invalidates a failure-to-mitigate defense.”


          While the merits of Charter’s affirmative defenses are not before me at this

    time, case law on this issue in this district is clear. Precedent suggests that failure to

    mitigate is not a proper defense in the face of a request for statutory damages.

    Further, the Plaintiffs have not established any other relevant purpose for the

    requested information. Charter’s requests with regard to RFPs 59 and 60 are

    therefore denied.


       E. Request for Order Requiring Plaintiffs to Add Additional Custodians

          Charter seeks an order requiring Plaintiffs supplement their custodian list.

    Specifically, Charter seeks an order requiring Plaintiffs to add to their custodian list

    Plaintiffs’ agents who had correspondence with the RIAA, MarkMonitor, or Audible

    Magic. As analyzed in section III.A.2, supra, Charter contends that Plaintiffs’ outside

    counsel, Oppenheim and Zebrak, acted as an agent with regard to communications

    with MarkMonitor. Plaintiffs are ordered to produce documents in

    accordance with the specifications set forth in section III.A.2, supra.



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    Plaintiffs are not ordered to add outside counsel as a custodian at this time.

    Charter’s request is denied.


       F. Request for Order Requiring Plaintiffs to Provide a Date Certain for
          Complete Production of Copyright Validity Documents

          Charter requests a date certain by which the Plaintiffs will complete their

    production of copyright validity documents. The parties do not dispute that Charter

    is entitled to these documents. Plaintiffs have represented that they have completed

    over 90% of this production and anticipate completing the production of these

    documents by June. Charter seeks a date certain by which this production will be

    complete. Plaintiffs’ counsel represented that Plaintiffs would commit to full

    production of the requested documents by June 15, 2020. (Hrg. Tr. May 15, 2020 31:1-

    5). Plaintiffs are ordered to complete production of copyright validity

    documents by June 15, 2020.


       G. Request for Order Requiring an Email Search for Documents
          Relating to Ownership Disputes

          Charter contends that Plaintiffs were ordered to produce, as part of a 1%

    ownership sample, documents relating to ownership disputes. (Def. Letter Br. May 8,

    2020 at 1).    Plaintiffs state that they searched for responsive documents by

    “consult[ing] centralized repositories and email folders where such ‘dispute’-related

    documents would reside.” (Pl. Letter Br. May 13, 2020 at 1). Plaintiffs did not,

    however, run email searches for these types of documents. Charter seeks an order
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    requiring Plaintiffs to search for these types of documents “through reasonably

    diligent email searches, such as including the names and artists of the sample works

    along with terms like ‘own’ and/or ‘cease and desist.’” (Def. Letter Br. May 8, 2020 at

    1). Plaintiffs contend that they have already identified the responsive documents, and

    that such a search would be overbroad and inefficient.


          The parties are ordered to meet and confer regarding search terms for

    the proposed email search. Plaintiffs will then provide Charter and the

    Special Master with hit counts for the proposed search terms. The parties

    are then encouraged to meet and confer regarding this request. If the

    parties cannot reach agreement on this issue, the Special Master will issue

    an order.


       H. Request for Order Compelling Responses to MPP Interrogatories 13
          and 14

          With Music Publisher Plaintiffs (“MPP”) Interrogatories 13 and 14, Charter

    requests that the MPPs identify which of their musical compositions-in-suit were

    recorded within which of the sound recordings in suit. (Def. Letter Br. May 8, 2020 at

    2). Charter contends that the “owner(s) of the musical composition and sound

    recording are entitled to a single award of statutory damages—not separate awards

    for the musical composition and the sound recording.” Id. Charter therefore argues

    that “the determination of which musical compositions-in-suit were recorded on

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    which sound recordings-in-suit has a dramatic impact on Charter’s potential

    exposure.” Id.


           Plaintiffs argue, however, that Charter already possesses the information it

    needs to conduct the analysis. Plaintiffs state that “[t]he sound recordings in this case

    are listed by track name in Exhibit A; the musical compositions are also listed by

    name in Exhibit B. In virtually all cases, Charter can compare those listings to

    identify potential overlaps.” (Pl. Letter Br. May 13, 2020 at 2). As Charter points out

    in its letter briefing, however, Plaintiffs ignore the fact that there are many music

    compositions that share the same title. (Def. Letter Br. May 20, 2020 at 2). Charter

    specifically argues that, for example, “by comparing these lists, it is not possible to

    determine which of the five separate music compositions titled ‘Everything’

    corresponds to which of the four sound recordings bearing the same name. In

    addition, there are hundreds of music compositions where no corresponding sound

    recording shares a title. Thus, it is unclear whether any of these music compositions

    resides in any of the sound recordings.” 2 Id. Charter’s arguments with regard to this




    2 Indeed, in Sony v. Cox, Plaintiffs made this same argument, directly contradicting the argument
    they make now. Specifically, Plaintiffs in Sony argued that comparing the lists of sound recordings
    and music compositions is no “ministerial task,” arguing that “there are simply too many separate
    musical compositions that happen to have the same title to have any certainty whether a sound
    recording with the same title corresponds to the musical composition without referencing data not
    found in [the respective lists of sound recordings and music compositions in suit].” (Def. Letter Br.
    May 20, 2020 at 2 n.1, Ex. 1).
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    data are compelling. The process here does not appear to be as simple as merely

    comparing two listings to provide potential overlap. The information sought is

    relevant, and Charter cannot discover this information merely by analyzing the

    documents that Plaintiffs have already produced. Charter’s request with regard

    to MPP Interrogatories 13 and 14 is granted.


       I. Request for Order Compelling Responses to MPP Interrogatory 15
          and RCP Interrogatory 14

           Charter here seeks an order compelling a response to MPP Interrogatory No.

    15 and Record Company Plaintiffs (“RCP”) Interrogatory No. 14, which respectively

    seek the identification of each notice that corresponds to each of Plaintiffs’ works in

    suit. Charter alleges that the vast majority of Plaintiffs’ works in suit are not

    identified in any notice. Plaintiffs claim, however, that Charter has all the

    information needed to link the notices to the works in suit. Plaintiffs claim that the

    notices sent to Charter identified the infringing torrent file by hash and named a

    representative sample of one sound recording in the torrent. Plaintiffs allege that

    Charter possesses a spreadsheet of works that matches hash values to individual

    torrent files.


           In its letter brief submitted on May 20, 2020, Plaintiffs walked through the

    process for linking notices to the works-in-suit. Charter argues that Plaintiffs have

    already completed this analysis, arguing that “in order to bring this suit for the 75%

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    of works in suit that are not identified by name, the MPP had to have determined

    which of their music compositions are implicated by the RCP’s notices and the RCP

    had to have determined which of their unidentified 5,000-plus sound recordings are

    allegedly implicated by their notices.” (Def. Letter Br. May 20, 2020 at 2). Charter

    also correctly asserts that a party may produce documents in lieu of providing a

    written response to interrogatories only when the “burden of deriving or ascertaining

    the answer will be substantially the same for either party.” Fed. R. Civ. P 33(d). Here,

    Charter has demonstrated that the Plaintiffs’ burden of producing the requested

    information is less than Charter’s. Charter’s request with regard to MPP

    Interrogatory 15 and RCP Interrogatory 14 is granted.


       J. Request for Order Compelling Responses to Requests for Production
          90 and 91

          Charter’s RFPs 90 and 91 relate to the reference files used by Audible Magic

    to detect alleged infringement. These reference files were discussed at length during

    a discovery hearing on April 17, 2020. During that hearing, the Special Master

    ordered Plaintiffs to answer by June 1, 2020 whether the digital copies they have

    already produced are the same reference files provided to Audible Magic during the

    claim period. The Plaintiffs’ answer to this question may partially resolve Charter’s

    request regarding RFPs 90 and 91. This request is therefore premature. Charter’s

    request for an order compelling responses to RFPs 90 and 91 is denied.


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    Charter may refile this request if necessary after Plaintiffs provide an

    answer on June 1, 2020.


    IV.     PLAINTIFFS’ MOTION TO COMPEL


          A. Request for Order Requiring Charter to Respond to Interrogatories
             13 and 14

            Plaintiffs seek an order requiring Charter to respond to Interrogatories 13 and

    14, which seek the total number of infringement notices Charter received from any

    source from 2012 to 2016, in addition to the total number of actions Charter took in

    response to those notices. Charter has already provided Plaintiffs with information

    relating to all notices sent to subscribers identified in Plaintiffs’ notices. Charter

    contends that compiling the information sought would be overly burdensome. Charter

    has not, however, provided any evidence of such a burden. Notwithstanding the

    production of information related to subscribers identified in Plaintiffs’ notices,

    Charter’s invocation of the DMCA Safe Harbor puts at issue its overall policies and

    procedures for addressing infringement. Information relating to the total number of

    notices received and Charter’s reaction to those notices is therefore relevant.

    Plaintiffs are entitled to probe how Charter’s infringement policies were actually

    implemented. Plaintiffs’ request is granted. Charter shall provide the total

    number of notices received during the identified period. Charter shall also



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    provide information regarding the number of actions taken in response to

    notices, broken down by the type of action taken.


       B. Request for Order Requiring Charter to Produce Documents
          Concerning its Practices for Responding to Copyright Infringement

          Plaintiffs’ Requests 37, 56, and 61 seek information relating to Charter’s

    policies for responding to copyright infringement and other abuses of its network.

    Such information is generally relevant, and the burden on Charter of producing such

    information is minimal. Orders for the particular requests in dispute are as follows:


          1. RFP 37: Plaintiffs seek “[d]ocuments concerning all policies,

             practices, or capabilities that you considered, formulated, rejected,

             or adopted for taking adverse action (including suspending or

             terminating internet service) against Subscribers or Users for

             alleged copyright infringement.” Charter represents that it has

             searched for documents and memoranda discussing infringement

             policies and that no such documents have been found. (Rough Hrg.

             Tr. May 18, 2020 45:13-22). Charter further argues this request is

             duplicative of RFP 8, which Judge Hegarty analyzed last year.

             Charter argues that Judge Hegarty ordered Charter to produce

             only final policies, finding that “drafts had nothing to do with

             changes” to policies. (Def. Letter Br. May 13, 2020, Ex. 7, Dec. 17,

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            2019 Hrg. Tr. at 59:23-24). Request 37, however, is not duplicative

            of RFP 8, and Judge Hegarty’s ruling specifically noted the

            potential relevance of the documents sought therein. See id. at

            68:9-15 (acknowledging that internal documents or memoranda

            discussing Charter’s policies are likely within the “zone of

            relevance.”). This information is relevant, and the burden of

            producing it is minimal. Plaintiffs’ request is granted. Charter

            shall produce documents responsive to RFP 37. Plaintiffs

            are not required to produce drafts of policies.

         2. RFP 56: This request seeks “[a]ll records or logs of calls, scripts

            created for use on calls, or documents discussing calls or reflecting

            the content of any calls, between your employees, customer service

            representatives, or members of your internet security team,

            Network Securities Operations department, or Customer Security

            team, on one hand, and any Subscriber or User identified in

            Infringement Notices or otherwise identified in connection with

            actual or alleged copyright infringement, on the other, related to

            alleged copyright infringement, any Infringement Notice, or any

            ‘ticket’ generated by an Infringement Notice, including all ‘work

            log’ or other notes entered in CATS as referenced on

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            CHA_00000006.” In their motion to compel, Plaintiffs specifically

            seek records or logs of calls with infringing subscribers regarding

            infringement. Charter has agreed to produce scripts for such calls

            in addition to CATS ticket data, which it contends provides

            Plaintiffs with sufficient information. Charter also contends that

            the requested logs contain Personally Identifiable Information for

            customers, which would be burdensome for Charter to redact. The

            requested information is relevant and goes directly to the issues

            at the heart of this case. Given the burden of producing this

            information, however, Plaintiffs’ request for all log entries is

            overbroad. Plaintiffs’ request is therefore granted in part

            and denied in part. Charter shall produce the requested

            work logs for infringing subscribers identified in Plaintiffs’

            notices. Charter shall also produce call logs for certain

            repeat infringers who are not identified in Plaintiffs’

            notices. The parties are directed to meet and confer to

            determine how many times an individual need have

            infringed to be deemed a repeat infringer such that call

            logs should be produced. If the parties cannot reach

            agreement on the parameters of this production they are

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            to submit proposals to the Special Master who will issue an

            order.

         3. RFP 61: Plaintiffs seek “[a]ll documents or communications

            distinguishing, differentiating, or otherwise comparing Charter’s

            responses to violations of its Acceptable Use Policies for reasons

            other than copyright infringement (including for hacking or

            spamming) to its responses to violations of those policies on the

            basis of copyright infringement.” Charter argues that the request

            is overbroad and irrelevant. Charter secondarily argues that its

            production of the “Abuse and Vulnerability Process Playbook”

            provides adequate information regarding how Charter responds to

            various AUP violations. While the Playbook may be relevant in

            that it shows what Charter’s policies are, Plaintiffs are also

            entitled to investigate the ways in which Charter actually

            implemented those policies. Plaintiffs’ request for “all documents

            and communications,” however, is overly broad. Plaintiffs’

            request is therefore granted in part and denied in part.

            Charter is hereby ordered to produce CATS data providing




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               information regarding Charter’s actions taken in response

               to different categories of abuse.3

        C. Order Requiring Charter to Add Additional Custodians

           Plaintiffs identify a number of custodians that they contend should be searched

    for responsive documents. Central to Plaintiffs’ argument is the fact that these

    individuals were included in Charter’s Initial Disclosures. Orders regarding each

    requested additional custodian are as follows:


           1. Jeff Erhardt: While Erhardt was included in Charter’s Rule 26

               disclosures, he did not begin working for Charter until September




    3During the Hearing, Charter stated that it did not know whether this type of information was
    maintained in the CATS system. (Rough Hrg Tr. May 18, 2020 67:9-15). The Special Master directed
    Charter to inquire as to how this type of information is maintained in the ordinary course of
    business. On May 27, 2020, counsel for Charter informed the Special Master that the information
    sought is maintained in the CATS system but is not maintained in a readily available spreadsheet or
    report. Charter states that “[t]he administrator of CATS estimates that creating a report that
    summarizes the non-copyright AUP violations by type and by total number of actions taken in
    response to each category of AUP violation from available CATS data for the Claims Period would
    take approximately one week to complete.” (Def. Email to Special Master May 27, 2020). The burden
    of producing the requested information does not outweigh the probative value.
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            2016—after the claim period ended. Plaintiffs’ request is

            therefore denied as to Jeff Erhardt.

         2. Adam Taylor: Taylor was included in Charter’s Rule 26 disclosures

            and was a Charter employee in part during the claim period.

            Plaintiffs’ request is therefore granted as to Adam Taylor.

         3. Kirill Abramov and Kelly Starkweather: Both Abramov and

            Starkweather were included in Charter’s Rule 26 disclosures.

            Charter argues however, that both Abramov and Starkweather

            are in-house counsel and would not have any relevant non-

            privileged documents. The fact that an individual serves as in-

            house counsel does not, in and of itself, render their documents

            privileged. See RCHFU, LLC v. Marriott Vacations Worldwide

            Corp., No. 16-CV-1301-PAB-GPG, 2018 WL 3055774, at *3 (D.

            Colo. May 23, 2018) (“In-house counsel performs a dual role of legal

            advisor and business advisor.... Communications by in-house

            counsel are privileged only where the communication’s primary

            purpose is to gain or provide legal assistance”) (internal citations

            and quotations omitted). The question here is not whether these

            witnesses have relevant information. The question is whether or

            not that information is privileged and, if so, the extent to which it
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            would be burdensome for Charter to search for and log all such

            documents. While it is significant that Charter identified these

            individuals in its Rule 26 disclosures, it is not dispositive. Further

            information is needed to determine whether requiring discovery

            from Abramov and Starkweather would be proportional to the

            needs of this case. I therefore decline to rule on this issue at

            this time. Charter is ordered to run searches for these

            individuals to determine how many documents hit on the

            agreed upon search terms. The parties are then ordered to

            meet and confer to determine whether discovery from

            these custodians is necessary and, if so, whether limited

            search terms are appropriate.

         4. Jim Obermeyer and Danyel Schönemann: Both Obermeyer and

            Schönemann      were   listed   as    individuals   having   relevant

            information in response to Plaintiffs’ Interrogatory 1. Plaintiffs

            specifically contend that these individuals may have discoverable

            information relating to “Charter’s financial incentives, or the

            impact of subscribers’ infringement activity (and Charter’s failure

            to respond) on its bottom line.” (Pl. Letter Br. May 8, 2020).

            Charter   alleges   that   Obermeyer      and   Schönemann      were

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             inadvertently included in its interrogatory responses. Plaintiffs’

             request is granted as to Obermeyer and Schönemann. If

             Charter identifies other individuals who would be more

             likely to have documents responsive to Plaintiffs’ request

             the parties are directed to meet and confer in good faith to

             determine      whether     either     or   both   Obermeyer     and

             Schönemann should be replaced as custodians.

       D. Request for Order Requiring Charter to Produce Documents
          Sufficient to Identify Titles and Roles of Relevant Employees

          Plaintiffs’ Requests 7 and 10 seek documents sufficient to identify

    organizational structures and the employees involved in processing and responding

    to infringement notices. Charter alleges that it does not have organizational charts

    responsive to these requests. Orders for the requests in dispute are as follows:


          1. RFP 7: Plaintiffs seek “[o]rganizational charts or other documents

             sufficient to show [Charter’s] organizational structure for persons

             responsible for addressing copyright infringement complaints,

             user terms of service, Acceptable Use Policies, privacy policies, and

             finances, including the identity and title of each job occupant.” The

             request seeks straightforward, relevant information to which the

             Plaintiffs are undoubtedly entitled. Plaintiffs’ request is


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             granted. Charter shall produce documents responsive to

             Request 7 as served.

          2. RFP 10: Plaintiffs seek “[d]ocuments sufficient to identify the

             name, title, and role of each of Defendant’s employees or agents

             involved any manner in receiving, assessing, addressing,

             responding, and/or implementing any Infringement Notice.” While

             the information sought in this RFP is relevant, it is unclear how a

             request for documents would result in satisfactory information.

             This information is more appropriately sought through an

             interrogatory. Plaintiffs’ request is therefore denied.

       E. Request for Order Requiring Charter to Produce Documents
          Concerning the Financial Benefits it Received from Infringement on
          its Network

          With regard to Requests for Production 33, 41-43, 50, 52-53, and 57, Plaintiffs

    seek information relating to Charter’s financial incentive to tolerate infringement on

    its network. Orders and analysis for the requests in dispute are as follows:


          1. RFP 33: Plaintiffs seek “[f]or the time period May 17, 2016 through

             the present, documents sufficient to show the actual monthly

             revenue [Charter] received from all Infringing Subscribers.”

             Charter has represented that it has provided the information

             sought for the claim period, through May 17, 2016. Charter
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               contends the requested post-claim period information is not

               relevant, and that the burden of producing such documents

               outweighs its minimal probative benefit. I agree. The information

               already produced by Charter provides the relevant information

               that Plaintiffs seek. Plaintiffs’ request is therefore denied. 4

           2. RFP 50: Plaintiffs seek “[d]ocuments sufficient to show the

               average and/or estimated cost to you of obtaining a Subscriber and

               the average or estimated costs associated with terminating a

               Subscriber’s     internet    service.”    Charter     argues    that    this

               information is not relevant because Plaintiffs have failed to

               address how subscriber attrition was a factor that influenced

               Charter’s copyright policies. Plaintiffs argue that the information

               is relevant to show the financial considerations that factored into

               Charter’s decision-making for determining its policy on copyright

               infringement. I agree with Plaintiffs. This information is relevant,

               and Plaintiffs request is narrowly tailored, such that the burden




    4During the Hearing, Charter indicated that this issue was discussed during the parties December
    17, 2020 hearing with Judge Hegarty. I have reviewed that transcript and have determined that
    Judge Hegarty did not issue a ruling or make statements that resolve this request.
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            of collecting and producing this information is likely to be minimal.

            Plaintiffs’ request is granted.

         3. RFP 52: Plaintiffs seek “[d]ocuments sufficient to show the

            average revenue and profit that you have received per Subscriber,

            for the life of the account, from January 1, 2012 to present.”

            Charter claims that Plaintiffs can calculate this based on the

            revenue information provided for the subscribers identified in

            Plaintiffs’ notices. Plaintiffs’ request, however, is not limited to

            only those subscribers identified in its notices. It instead seeks the

            average for all subscribers. The information sought in RFP 52 is

            straightforward and sufficiently narrowly seeks only the average

            revenue and profit. The information already produced by Charter

            does not sufficiently provide Plaintiffs with the information that

            they seek. Plaintiffs’ request is granted.

         4. RFP 53: Plaintiffs seek “[d]ocuments sufficient to show the

            average and/or estimated total length of time that you retain

            Subscribers, from inception to termination of the subscription for

            any reason.” Charter argues that this information is not relevant

            because the Plaintiffs have failed to address how subscriber

            attrition was a factor that influenced Charter’s copyright policies.
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            Plaintiffs claim that this information is necessary for their

            financial expert’s analysis of the average lifetime value of a

            subscriber to Charter. The information sought in RFP 53 is

            straightforward and sufficiently narrow that it should not be

            burdensome to produce. Plaintiffs have not, however, established

            the relevance of this information outside of the claim period.

            Plaintiffs request is granted in part and denied in part.

            Charter shall produce documents to show the average

            length of time that Charter retained a customer during the

            claim period, to the extent that information is maintained

            in the ordinary course of business. Charter need not create

            documents or calculate this information if it is not already

            kept in the ordinary course of business.

         5. RFP 43: Plaintiffs seek “[d]ocuments discussing the impact of

            Subscribers’ use of BitTorrent and/or peer-to-peer networks on

            [Charter’s] current or future profits.” Charter argues that this

            request is overbroad because BitTorrent is used for many

            legitimate purposes. I agree. Plaintiffs’ request seeks information

            not only about infringing activity, but also about non-infringing,

            legal activity. Requiring production responsive to this request

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            would therefore result in the production of a large amount of

            information that is not reasonably calculated to lead to the

            discovery of admissible evidence in the matter and would not be

            proportional to the needs of this case. A similar request may be

            appropriate if Plaintiffs can narrow the scope to specifically target

            infringing activity. As written, however, the request is overbroad.

            Plaintiffs’ request is denied.

         6. RFP 57: Plaintiffs seek “[d]ocuments sufficient to show the extent

            to which compensation (including bonus structure(s)) for your

            employees, customer service representatives, or members of your

            internet security, Network Securities Operations department, or

            Customer Security team, was tied to retention of Subscribers.”

            Charter argues that this request is overbroad and irrelevant given

            that Charter has already stated that it did not have a policy of

            terminating subscribers for infringement. Plaintiffs argue that

            this request is relevant to any alleged motive or incentive on the

            part of Charter employees. I agree with Plaintiffs. This request is

            relevant and is sufficiently narrow that it should not be

            burdensome to produce. If documents responsive to this request do



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            not exist, Charter should make such a representation to Plaintiffs.

            Plaintiffs’ request is granted.

         7. RFP 41: Plaintiffs seek “[a]ll advertising or marketing materials,

            marketing reports, plans, studies, and consumer research

            materials discussing the use or potential use of your internet

            services to download or obtain music, including the speeds at

            which music can be downloaded using your networks.” Charter

            argues that this request is overbroad because it seeks all

            advertising and marketing or strategic plans mentioning use of

            the internet to download or stream music. Plaintiffs argue that

            this request is sufficiently narrowly tailored because it relates

            specifically to advertising or marketing documents related to the

            use of Charter’s service for downloading music, especially

            including speeds at which music can be downloaded on the

            network. This request is relevant and appears narrowly tailored,

            but further information is needed to determine whether the

            production of this information would be unduly burdensome.

            Plaintiffs’ request is therefore granted subject to certain

            conditions. Charter is ordered to develop search terms

            responsive to this request and determine how many

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            documents hit on those terms. If it is a very large number,

            the parties should meet and confer further about this

            request. If the parties cannot reach an agreement, they

            should contact the Special Master to reach resolution.

         8. RFP 42: Plaintiffs seek “[d]ocuments concerning your growth

            targets, strategic plans, or internal strategies pertaining to the use

            or offering of higher bandwidths to Subscribers for the purpose of

            downloading music.” Charter argues that this request is overbroad

            and irrelevant because it seeks all documents mentioning the use

            of the internet to download and stream music. Plaintiffs argue that

            this request is sufficiently tailored because it relates specifically to

            offering customers higher bandwidth for the purpose of

            downloading music. This request is relevant and appears narrowly

            tailored, but further information is needed to determine whether

            the production of this information would be unduly burdensome.

            Plaintiffs’ request is therefore granted subject to certain

            conditions. Charter is ordered to develop search terms

            responsive to this request and determine how many

            documents hit on those terms. If it is a very large number,

            the parties should meet and confer further about this

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              request. If the parties cannot reach an agreement, they

              should contact the Special Master to reach resolution.




    Dated this 29th day of May, 2020               BY THE SPECIAL MASTER

                                                   /s/ Regina M. Rodriguez
                                                   Regina M. Rodriguez
                                                   Special Master




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